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                          IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

OLD LC, INC., et al.,1                                                 Case No. 19-11791 (BLS)

                                     Debtors.                          Jointly Administered


Official Committee of Unsecured Creditors of Old                       Adv. No. 20-51002 (BLS)
LC, Inc., et al., for and on behalf of the estates of
Old LC, Inc., et al.;

                                     Plaintiff,
v.

Upfront V, LP, Breakwater Credit Opportunities
Fund, L.P.; Upfront GP V, LLC; Mark Suster; Dana
Kibler; Gregory Bettinelli; Saif Mansour; Aamir
Amdani; Eric Beckman; Darrick Geant; and Joseph
Kaczorowski

     MOTION OF UPFRONT V, L.P., UPFRONT GP V, LLC, MARK SUSTER, DANA
       KIBLER AND GREGORY BETTINELLI TO DISMISS FIRST AMENDED
          COMPLAINT AND OBJECTION TO CLAIMS AND MOTION TO
              STRIKE PRAYER FOR COMPENSATORY DAMAGES

                   Pursuant to Rules 12(b)(6), 12(e) and 12(f) of the Federal Rules of Civil

Procedure, made applicable to adversary proceedings by Rule 7012 of the Federal Rules of

Bankruptcy Procedure, defendants Upfront V, L.P., Upfront GP V, LLC, Mark Suster, Dana

Kibler and Gregory Bettinelli (collectively, the “Upfront Defendants”) hereby move to (1)

dismiss Counts I, II, III, IV, and IX (collectively, the “Upfront Counts”) of that certain First




1
   The Debtors are the following four entities (the last four digits of their respective taxpayer identification numbers,
if any, follow in parentheses): Old LC, Inc. (7119), Old LC Holdings, Inc., Old LCF, Inc. and Old LC Parent, Inc.
The Debtors’ noticing address in these Chapter 11 cases is 3401 Pasadena Ave, Los Angeles, CA 90031.



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Amended Complaint and Objection to Claims (the “Complaint”)2 filed by the Official Committee

of Unsecured Creditors of Old LC, Inc., Old LC Holdings, Inc., Old LCF, Inc., and Old LC

Parent, Inc. (collectively, “Loot Crate” or the “Debtors”) in the above-captioned adversary

proceeding; and (2) strike the Complaint’s request for compensatory damages.

                                      PRELIMINARY STATEMENT

                   1.       This suit arises out of the demise of Loot Crate, which operated a

subscription box service from 2012 through 2019 and was founded, managed, and majority-

owned by Chris Davis (“Davis”), the Debtors’ incompetent CEO whose failings demonstrably

and single-handedly caused the bankruptcy of the Debtors. Rather than target Davis, and those

directors he appointed to do his bidding, the Committee has chosen to bring a breach of fiduciary

duty action against those with presumably deeper pockets but who had no actual control over the

Debtors and share no responsibility for their collapse: (1) Upfront V, LP (“Upfront”), the

Debtors’ minority shareholder, (2) Upfront GP V, LLC, Upfront’s general partner, who had no

involvement whatsoever with the Debtors, (3) the three individuals who Upfront appointed to

serve as the Series A Director (each of whom served at different times), and (4) Breakwater

Credit Opportunities Fund, L.P., Loot Crate’s senior secured lender, and individuals associated

therewith (the “Breakwater Defendants”).

                   2.       Upfront’s relationship with Loot Crate began with its 2016 participation in

a Series A financing round, in which Upfront invested $12.5 million in exchange for, inter alia,

preferred shares, the ability to designate a single member of Loot Crate’s five-person board of

directors (the “Series A Director”) and approval rights over additional preferred share issuances.

While Upfront’s managers desired to mentor and partner with Davis to help grow the business,


2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Complaint.


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Upfront was repeatedly forced to contend with significant mismanagement by Davis, which

Upfront was never able to remedy. Unfortunately for all stakeholders in these Cases, Davis’s

control over each aspect of Loot Crate’s management prevented Upfront from being able to

effectuate the changes required.

                   3.    Based on conclusory, vague, contradictory, and some demonstrably false

allegations, the Committee claims that the Series A Director and Upfront, based on its exertion

of control over the Debtors, breached their fiduciary duties by creating a cash crisis in an effort

to force unfavorable funding terms on the Debtors, none of which were ever imposed. Each of

the Complaint’s premises is fatally flawed and the Complaint does not meet basic pleading

requirements under applicable law. It must be dismissed.

                   4.    First, the Complaint does not and cannot allege facts to support that

Upfront owed fiduciary duties to the Debtors, nor that any Series A Director cast any dispositive

vote or was able to exercise control over the Debtors. Indeed, at all times Davis, not Upfront,

controlled all aspects of the Debtors, including their financing efforts. At most, Upfront held a

never-utilized consent right, stemming from and authorized under the Debtors’ Articles of

Incorporation, over the Debtors’ issuance of additional preferred stock. Yet such a right cannot

form the basis of a fiduciary duty nor can the exercise thereof be a breach of fiduciary duty. As

for the individual directors, the Complaint impermissibly relies on group pleading, even though

there was only ever one (and not even at all times) Series A Director serving on the Board.

                   5.    Further, the Complaint fatally does not (and cannot) allege facts

demonstrating that any Upfront Defendant created a cash crisis. The Complaint does not explain

how the purported urging of “unfavorable funding terms” (which was actually a proposed equity

investment to address the Company’s ongoing liquidity needs and which might have actually



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saved the company) was an exercise of control or breach of duty, particularly since that

transaction was never consummated. Finally, the Complaint does not allege any damages that

are not entirely speculative. There is no allegation, much less evidence, that the Debtors would

have obtained alternative funding sufficient to allow the Debtors to survive.

                   6.     The Complaint adds additional, mostly duplicative counts for aiding and

abetting a breach of fiduciary duty, breach of the implied covenant of good faith and fair dealing,

and civil conspiracy, and a final count objecting to Upfront’s proof of claim filed against the

Debtor. These counts too should be dismissed. For both the aiding and abetting and civil

conspiracy counts, there are no underlying breaches of fiduciary duty on which the additional

claims are founded, and the Complaints’ lack of a cognizable damages theory is also fatal

thereto. The implied covenant of good faith and fair dealing only applies where a contract is

silent concerning the complained-of acts, but the Complaint does not allege any such missing

terms. Indeed, the Private Equity Agreements at issue, referenced in the Complaint, and Articles

of Incorporation themselves explicitly authorize Upfront’s conduct. Finally, the Complaint’s

count objecting to Upfront’s claim must be dismissed as it contains no allegation with respect to

the claim’s validity beyond the bare conclusion that it is not an “actual, authorized liability of

any of the Debtors.”

                   7.     The Committee is not entitled to relief under any set of facts or theories

that can be alleged on a principled basis. The Committee is in possession of virtually all

documents possessed by the Upfront Defendants and, with access to all relevant information, has

not made any cognizable claims.3 The entire Complaint should be dismissed with prejudice.


3
  The Debtors have already conducted extensive Rule 2004 discovery against the Upfront Defendants as well as non-
defendant third parties. In response, the Upfront Defendants produced over 10,000 documents consisting of over
40,000 pages to the Debtors, which included virtually all of the documents and data already in their possession
relating to the Debtor, which are in the possession of the Committee.


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                                       RELEVANT BACKGROUND

A.       The Complaint.

                   8.      On November 2, 2020, the Committee filed an initial complaint against

Defendants. In response, the Upfront Defendants filed a motion to dismiss the initial complaint.

Before the initial motion to dismiss was heard, the Committee filed its amended Complaint. The

Complaint contains five counts naming at least one of the Upfront Defendants: Count I for

breach of fiduciary duties against all Upfront Defendants; Count II for aiding and abetting breach

of fiduciary duty against all Upfront Defendants; Count III for breach of the implied covenant of

good faith and fair dealing against Upfront; Count IV for civil conspiracy against all Upfront

Defendants; and Count IX objecting to the Defendants’ Claims against all Upfront Defendants.

B.       The Private Equity Agreements.

                   9.      The Complaint explicitly references and relies on the terms of the Private

Equity Agreements dated May 10, 2016, true and correct copies of which are attached hereto as

Exhibit A,4 by which Upfront obtained approximately 45% of the newly-issued Series A

Preferred Stock of Loot Crate (equating to ownership of approximately 10.5% of the Debtors

on a fully converted basis) and was granted the right to designate a single member of the Board.

Together, Upfront and Breakwater held 55% of the Series A Preferred Stock, which fact the

Complaint deceptively states to suggest that Upfront and Breakwater together held a majority

stake. The truth is that their combined 55% ownership relates to Series A Preferred Stock only,

and on a converted basis equated to 12.8%. Further, the Private Equity Agreements were

negotiated at arms’ length with an independent board on which Upfront had no representation.

4
  In evaluating a Rule 12(b)(6) motion to dismiss for failure to state a claim, a court may consider the complaint,
exhibits attached to the complaint, matters of public record, and undisputedly authentic documents if the plaintiff’s
claims are based upon those documents. Mele v. Federal Reserve Bank of N.Y., 359 F.3d 251,255 n. 5 (3d Cir.
2004); Pension Benefit Guar. Corp. v. White Consol. Indus., 998 F.2d 1192, 1196 (3d Cir. 1993).


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                                            ARGUMENT

A.      Pleading Standards.

            a. Rules 8(a) and 12(b)(6)

                   10.   Rule 8(a)(2) of the Federal Rules of Civil Procedure, made applicable by

Federal Rule of Bankruptcy Procedure 7008, requires a claim for relief contain “a short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a). The

purpose of Rule 8(a)(2) is to “‘give the defendant fair notice of what the . . . claim is and the

grounds upon which it rests.’” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting

Conley v. Gibson, 355 U.S. 41, 47 (1957)).

                   11.   A Rule 12(b)(6) motion tests the legal sufficiency of the claims asserted in

the complaint, including, inter alia, whether the plaintiff has met the requirements of Rule

8(a)(2). If a claim as pleaded is insufficient because it lacks an element necessary to establish the

claim under any legal theory, a court must dismiss the claim for violating the pleading

requirements of the Federal Rules of Civil Procedure. See Falkenberg Capital Corp. v. Dakota

Cellular, Inc., 925 F. Supp. 231, 236-39 (D. Del. 1996) (dismissing claims because they did not

entitle the claimant to relief under any reasonable reading of the pleadings).

                   12.   A court need not accept as true unreasonable inferences or conclusory

legal allegations cast in the form of factual allegations. Twombly, 550 U.S. at 555 (“While a

complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed factual

allegations, a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’

requires more than labels and conclusions, and a formulaic recitation of the elements of a cause

of action will not do.”) (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)).

                   13.   Thus, a complaint must contain “sufficient factual matter, accepted as true,



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to ‘state a claim to relief that is plausible on its face.’ A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(citations omitted; quoting Twombly, 550 U.S. at 570). “The plausibility standard is not akin to a

‘probability requirement,’ but it asks for more than a sheer possibility that a defendant has acted

unlawfully.” Id. (quoting Twombly, 550 U.S. at 556). “Where a complaint pleads facts that are

‘merely consistent with’ a defendant’s liability, it ‘stops short of the line between possibility and

plausibility of entitlement to relief.’” Id. (quoting Twombly, 550 U.S. at 557).

                   14.   “[T]o survive a motion to dismiss, the non-conclusory ‘factual content,’

and reasonable inferences from that content, must be plausibly suggestive of a claim entitling the

plaintiff to relief.” Moss v. United States Secret Serv., 572 F.3d 962, 969 (9th Cir. 2009). The

Committee fails to satisfy these standards. As set forth herein, the Complaint fails to include

essential factual allegations, but instead relies on conclusory statements to support implausible

claims.

            b. Rules 10 and 12(e)

                   15.   Rule 10(b) of the Federal Rules of Civil Procedure, made applicable by

Federal Rule of Bankruptcy Procedure 7010, requires that “each claim founded on a separate

transaction or occurrence ... must be stated in a separate count” if doing so would promote

clarity. Fed. R. Civ. P. 10(b). The use of separate counts becomes increasingly important when a

plaintiff files suit against multiple of defendants and alleges various claims against each. Walker

v. Wentz, No. 06-cv-2411, 2008 U.S. Dist. LEXIS 11592, at *17, 2008 WL 450438 (M.D. Pa.

Feb. 15, 2008); Grew v. Hopper, No. 2:07-CV-550, 2008 WL 114915, at *2 (M.D. Fla. Jan. 9,

2008) (dismissing complaint for failure to comply with Rule 10(b) when plaintiff attempted to



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allege numerous causes of action against various defendants without pleading separate counts);

Folkman v. Roster Fin. LLC, No. Civ. 05-2099, 2005 WL 2000169, at *4 (D.N.J. Aug. 16, 2005)

(“When a complaint is brought against several distinct defendants, separate statements with

regard to each defendant are particularly helpful in apprising the individual defendants of claims

pertaining only to them.” (internal quotations omitted)); Boyer v. Lehigh Valley Hisp. Ctr., No.

Civ. A. 89-7315, 1990 WL 94038, at *7 (E.D. Pa. July 2, 1990) (same).

                   16.   A Rule 12(e) motion tests the legal sufficiency of the plaintiff’s

requirements of pleading practice established by Rule 10. Walker v. Wentz, 2008 U.S. Dist.

LEXIS 11592, at *17; Boyer, 1990 WL 94038, at *7; see also Wadhwa v. Sec’y, 505 Fed. Appx.

209, 214 (3d Cir. 2012) (quoting Schaedler v. Reading Eagle Publ’n, Inc., 370 F.2d 795, 798 (3d

Cir. 1967)) (explaining that a motion for a more definite statement “‘is directed to the rare case

where because of the vagueness or ambiguity of the pleading the answering party will not be able

to frame a responsive pleading’”).

                   17.   The Committee’s “group pleading” is not permissible here. See, e.g.,

Searcy v. Knight (In re Am. Int’l Refinery), 402 B.R. 728, 739 (Bankr. W.D. La. 2008)

(dismissing complaint alleging, inter alia, breach of fiduciary duty where complaint employed

group pleading and failed to identify each defendant’s role in wrongful conduct); Swartz v.

KPMG LLP, 476 F.3d 756, 764 (9th Cir. 2007) (complaint cannot “lump multiple defendants

together” in alleging civil conspiracy). The Committee relies entirely on group pleading

throughout the Upfront Counts.

                   18.   The problem with “group pleading” is that breach of fiduciary duty is

“determined on an individual—rather than a collective—basis.” J.P. Morgan Trust Co. Nat’l

Ass’n v. Cleberg (In re Farmland Indus., Inc.), 335 B.R. 398, 410 (Bankr. W.D. Mo. 2005)



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(dismissing claims against individual director where there were no “specific allegations” of

wrongdoing by that defendant); Mukamal v. Bakes, 383 B.R. 798, 827 (S.D. Fla. 2007)

(dismissing breach-of-fiduciary duty claims because the complaint failed to “allege

individualized allegations as to each [defendant] from which an assessment can be made under

the applicable criteria”).

                   19.   The Committee employs impermissible group pleading throughout the

Complaint, and therefore fails to satisfy the standards of Rules 10 and 12(e). Specifically, the

Complaint contains a single count for breach of fiduciary duty encompassing all Defendants,

including the Breakwater Defendants. Even among the Upfront Defendants, none are similarly

situated. The individual Defendants on Loot Crate’s board of directors served at different times,

and were never overlapping in their service.

B.      Count I Must Be Dismissed as Plausible Claims for
        Breaches of Fiduciary Duty Have Not Been Alleged.

                   20.   The breach of fiduciary duty claims require the Committee to plausibly

establish the following two formal elements: (i) the existence of a fiduciary duty and (ii) a breach

of that duty. Beard Research, Inc. v. Kates, 8 A.3d 573, 601 (Del. Ch. 2010); Zrii, LLC v.

Wellness Acquisition Group, Inc., 2009 Del. Ch. LEXIS 167, 2009 WL 2998169, at *11 (Del.

Ch. Sept. 21, 2009).

                   21.   Although a claim for breach of fiduciary duty has only two formal

elements, a plaintiff will not be awarded a meaningful remedy without additional showings that

parallel the other elements of a traditional common law tort claim. See Ravenswood Inv. Co.,

L.P. v. Estate of Winmill, 2018 Del. Ch. LEXIS 96, 2018 WL 1410860, at *2, 19, 25 (Del. Ch.

Mar. 21, 2018) (awarding nominal damages for breach of duty); Lake Treasure Holdings, Ltd. v.

Foundry Hill GP LLC, 2014 Del. Ch. LEXIS 205, 2014 WL 5192179, at *1, 9, 13 (Del. Ch. Oct.


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10, 2014) (same); In re Nine Sys. Corp. S’holders Litig., 2014 Del. Ch. LEXIS 171, 2014 WL

4383127, at *51 (Del. Ch. Sept. 4, 2014) (same); Oliver v. Bos. Univ., 2006 Del. Ch. LEXIS 75,

2006 WL 1064169, *25, 29, 30, 32, 34-35 (Del. Ch. Apr. 14, 2006) (same); but see In re Katy

Indus., Inc., 590 B.R. 628, 640-41 (Bankr. D. Del. 2018), rev’d in part on other grounds sub

nom. In re KII Liquidating, Inc., 607 B.R. 398 (D. Del. 2019) (finding damages and causation as

element of claim for breach of fiduciary duty brought under Delaware law).5

        a.         Existence of Fiduciary Duties of Upfront Defendants.

                         i.       Defendant Upfront Did Not Owe Debtors
                                  Fiduciary Duties at Any Time.

                   22.    Under Delaware law, a “shareholder owes a fiduciary duty only if it owns

a majority interest in or exercises control over the business affairs of the corporation.”

Thermopylae Capital Partners, L.P. v. Simbol, Inc., No. 10619-VCG, 2016 Del. Ch. LEXIS 15,

*43, 2016 WL 368170 (Del. Ch. Jan. 29, 2016) (quoting Ivanhoe Partners v. Newmont Mining

Corp., 535 A.2d 1334, 1344 (Del. 1987)). A shareholder will be considered “controlling” if it

either “owns more than 50% of the voting power of the company, or exercises ‘actual control’

over the board of directors during the course of a particular transaction.”                   Zimmerman v.

Crothall, 62 A.3d 676, 699-700 (Del. Ch. 2013).

                                  1. Upfront Is Not Alleged to be a Controlling Shareholder by
                                     Virtue of Share Ownership.

                   23.    Upfront is not alleged to be a majority shareholder of the Debtors. See

Kahn v. Lynch Commc’n Sys., Inc., 638 A.2d 1110, 1113 (Del. 1994) (observing that a


5
 Although damages may not be a required element in pleading a cause of action for breach of fiduciary duty, the
Complaint provides no theory of damage to Loot Crate that is not entirely speculative. Specifically, its theory
appears to be that but for the Upfront Defendants’ conduct, Loot Crate would have been able to reach a financing
deal that would have prevented these Cases. There is no evidence or facts alleged that any such financing would
have been consummated, in particular because there was no Series A Director between January and July of 2018,
during which time the Debtors did not obtain sufficient financing to keep the company afloat.


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stockholder becomes a fiduciary if it “owns a majority interest in . . . the corporation” (internal

quotation marks omitted)); In re PNB Hldg. Co. S’holders Litig., 2006 WL 2403999, at *9 (Del.

Ch. Aug. 18, 2006) (“Under our law, a controlling stockholder exists when a stockholder . . .

owns more than 50% of the voting power of a corporation . . . .”); Williamson v. Cox Commc’ns,

Inc., 2006 WL 1586375, at *4 (Del. Ch. June 5, 2006) (“A shareholder is a ‘controlling’ one if

she owns more than 50% of the voting power in a corporation . . . .”). Indeed, the Debtors have

acknowledged that Upfront is a minority shareholder of Debtor Old LC Parent, Inc. (formerly

Loot Crate Parent, Inc.), owning 10.527% of the shares of Loot Crate Parent, Inc.6

                    24.     Further, Upfront and Breakwater, together, did not hold more than 50% of

the voting power of Loot Crate. Although the Complaint deceptively suggests that Upfront and

Breakwater together owned a controlling position, their combined 55% ownership only relates to

the Series A Preferred Stock, which never provided Upfront and Breakwater, even jointly, with a

majority voting position or control. Their combined minority position equates to 12.8% of Loot

Crate Parent, Inc. In contrast, Loot Crate Parent does have a controlling shareholder who

controls 50.5761% of its shares and who at all times exercised actual control: Davis.

                    25.     Accordingly, Upfront is not a controlling shareholder under any definition,

and did not owe the Debtors any fiduciary duties on that basis.

                                     2. The Complaint’s Allegations of Actual Control are
                                        Insufficient.

                    26.     A defendant without majority voting power can be found to owe fiduciary

duties if he in fact exercises control over the business and affairs of the corporation. Lynch, 638

A.2d at 1113 (another means of pleading control is to allege facts that support a reasonable

inference that the defendant in fact “exercise[d] control over the business affairs of the

6
    Declaration of Stuart Kaufman in Support of First Day Motions and Related Relief, at ¶ 14(c) [Docket No. 4].


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corporation”). “The bare conclusory allegation that a minority stockholder possessed control is

insufficient” to survive a motion to dismiss. In re Morton’s Restaurant Grp., Inc. S’holders

Litig., 74 A.3d 656, 664 (Del. Ch. 2014) (finding that conclusory allegations of the exercise of

actual domination and control by minority stockholder insufficient to withstand motion to

dismiss under Rule 12(b)(6)); In re Primedia Inc. Deriv. Litig., 910 A.2d 248, 257 (Del. Ch.

2006).    Rather, “the Complaint must contain well-pled facts showing that the minority

stockholder ‘exercised actual domination and control over . . . [the] directors.’” Thermopylae,

2016 Del. Ch. LEXIS 15, at *43; Morton’s Rest. Grp., 74 A.3d at 664-65 (same); In re Sea-Land

Corp. S’holder Litig., No. 8453, 1988 Del. Ch. LEXIS 65, 1988 WL 49126, at *384 (Del. Ch.

May 13, 1988) (same); see also PNB Hldg., 2006 WL 2403999, at *9 (plaintiff must allege facts

supporting a reasonable inference that a defendant or group of defendants exercised sufficient

influence “that they, as a practical matter, are no differently situated than if they had majority

voting control”). For example, a plaintiff may plead the defendant, “as a practical matter,

possesses a combination of stock voting power and managerial authority that enables him to

control the corporation, if he so wishes.” In re Cysive, Inc. S’holders Litig., 836 A.2d 531, 553

(Del. Ch. 2003).

                   27.   A plaintiff must plead and establish that the defendant exercised actual

control; the “potential ability to exercise control is not equivalent to the actual exercise of that

ability.” Sea-Land, 1987 Del. Ch. LEXIS 439, *13 (emphasis in original); see also Williamson,

2006 Del. Ch. LEXIS 111 at *4 (“potential ability to exercise control is not sufficient”); Gilbert

v. El Paso Co., Del. Ch., 490 A.2d 1050, 1056 (1984), aff’d, Del. Supr., 575 A.2d 1131 (1990)

(holding that claims of breach of fiduciary duty “must subsist on the actuality of a specific

relationship, not its potential”).



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                   28.   The Complaint conclusorily alleges that Upfront exercised actual and

pervasive control over Loot Crate, as follows:

        Defendant Upfront exercised actual and pervasive control over Loot Crate and its
        governance apparatus through its active coordination and scheming with
        Breakwater, which placed Upfront in a position no different than if Upfront had
        majority voting control. . . . Loot Crate was unable to take certain actions (such as
        increasing or decreasing the number of authorized common or preferred shares
        and/or changing the number of directors) without obtaining an affirmative vote or
        written consent of a majority of the voting power of the Preferred Stock.

Complaint, at ¶ 228. “Coordination and scheming with Breakwater”, even if it occurred, does

not support an allegation that Upfront actually controlled the Debtors and certainly not that the

“pervasively” controlled them. The control over minor matters is not sufficient control to make

someone a fiduciary. Further, Loot Crate’s requirement to obtain Upfront’s consent prior to

taking certain actions is (a) a contractual right that Upfront held, and (b) there is no allegation

that Upfront ever exercised that right. This is precisely the type of conclusory allegation of

“actual control” that cannot withstand a 12(b)(6) motion.

                                   a. Complaint Does Not Adequately Allege Facts
                                      Establishing That Upfront Controlled Board.

                   29.   The Complaint alleges that Upfront “maintained control over the Board by

exercising its right to designate one Board member, and by influencing and forcing the

appointment of purportedly “independent” directors that Upfront knew would do Upfront’s

bidding.” Complaint, at ¶ 229. The appointment of a single Board member on a five-person

Board, based on a negotiated contractual right, is not an exercise of control.

                   30.   Further, the Complaint does not allege that Upfront controlled an

additional two members of the Board sufficient to control a majority board of the Board.

Instead, the Complaint alleges that Upfront installed a “lackey” on the Board to “reconstitute the

Board in [its] favor,” referring to Ynon Kreiz (“Kreiz”). Complaint, at ¶ 58. However, the


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Complaint alleges no facts to support that Kreiz was somehow not independent; it only alleges

that Kreiz had a pre-existing relationship with Upfront and Suster.          Further, even if the

Complaint had pleaded facts to support its allegation that Kreiz was not independent and he

acted as Upfront’s “lackey,” Kreiz’s alleged support on the Board could not constitute Upfront’s

actual control over the Board, as Kreiz and Suster, acting together, would still never have had

control over the five-person Board.

                   31.   In an attempt to overcome this hurdle, the Complaint alleges that a third

director, Terry Boyle, “compromise[d] the disinterestedness and independence of the Board.”

Complaint, at ¶ 229. There is no allegation that Boyle had any pre-existing relationship with

Upfront or any of the Defendants, nor that he acted on the instruction of Upfront.

                   32.   Accordingly, the Complaint’s conclusion that Upfront controlled the

Board is insufficient. Upfront cannot be found to owe fiduciary duties as a “controller” of the

Board based on the facts alleged.

                                    b. Development of Playbook Not an Exercise of Control.

                   33.   The Complaint alleges that “developing the Playbook” was an act of

actual control giving rise to fiduciary duties. Complaint, at ¶ 36. The Complaint describes the

Playbook as a detailed, coordinated plan “to block the Board from considering other financing

options and to force Davis and the company to consummate the A-2 Proposal.” Complaint, at

¶ 36. On its face, the “development” of a plan cannot be considered an act of actual control. To

the extent such a plan existed and Upfront attempted to implement it, it did not succeed. The

Company did not, in fact, fail to consider other financing options, nor was the A-2 Proposal ever

consummated. Accordingly, the Playbook does not constitute a factual allegation of actual

control on the part of Upfront.



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                   34.   More significantly, the Complaint itself concedes that Upfront and

Breakwater did not succeed in implementing the Playbook:

        95. On or about November 9, 2017, Upfront and Breakwater informed Loot
        Crate that they would not provide the additional $1.5 million in bridge financing
        that had been previously offered unless Davis provided an irrevocable power of
        attorney over his common stock in Loot Crate.

        95. By this condition, Upfront and Breakwater placed Davis exactly where they
        wanted him in their scheme: Between a rock and a hard place. If Davis agreed,
        Upfront and Breakwater would obtain even greater, unfettered control of
        Loot Crate. If Davis refused, the lack of additional bridge financing would leave
        Loot Crate without sufficient working capital.

        96. Davis did not consent to the additional demand.

Complaint, at ¶¶ 94-96 (emphasis added).

                                    c. Preventing Quorum Not an Exercise of Control.

                   35.   The Complaint additionally alleges that Upfront controlled Loot Crate by

Suster’s “refus[al] to attend meetings to preclude the existence of a quorum.” Complaint, at ¶¶

231. Attendance (or refusing to attend) board meetings was an act taken by Suster rather than by

Upfront, and thus it does not constitute control on the part of Upfront over the Debtors. Further,

an attempt to exercise control by preventing a quorum does not constitute actual control

sufficient to create fiduciary duties, as set forth, supra, ¶ 30.

                   36.   The Complaint does not adequately allege that the lack of quorum allowed

Upfront to exercise control on the part of Upfront during the limited time a quorum was not

achieved. The Complaint deceptively suggests that Suster’s absence resulted in the withdrawal

of the “New BioWorld Proposal,” but does not identify the date that this occurred. Complaint, ¶

149 (“Eventually, Upfront’s and Breakwater’s tactics achieved their goal. Despite spending

close to two months of time and effort to advance the financing transaction, BioWorld withdrew

its proposals.”). This is not an allegation that the failure to obtain a quorum during that brief


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interval resulted in any dispositive action or inaction. The Committee also cannot actually make

this allegation because as it well knows, the Debtors were able to obtain a quorum no later than

December 22, 2017 and BioWorld did not withdraw their financing offer until January 22, 2018.

Further, Davis had a way out of the lack of quorum that he used: he caused an additional

director, Osman Khan, to be appointed. Accordingly, no credible allegation can be made that

actual control on the part of Upfront is alleged to have resulted from the lack of quorum.

Further, even if control is adequately alleged as a result of the failed quorum, any fiduciary

duties on the part of Upfront would be limited to the time during which control was asserted, i.e.,

the narrow period during December 2017 in which a quorum was prevented.

                                    d. Pressuring Counterparties Not an Exercise of Control.

                   37.   The Complaint alleges that Upfront “[t]o exercise more control . . . used

its position and relationship in the industry to attempt to convince Atalaya and/or South River

from completing its financing proposals, including by threatening litigation” Complaint, at ¶ 232

(emphasis added). There is no explanation as to how any pressure was an act of control on the

part of Upfront over Loot Crate, and there was not allegation that the attempt actually succeeded

or how such attempt could have or did cause any damage. No control over Loot Crate is alleged.

                   38.   In short, the Complaint pleads no facts sufficient to adequately allege that

Upfront actually controlled the Debtors. In fact, the Complaint’s allegations show that Davis

was the only person with “actual control” over the Debtors, and that he, to the detriment of the

Debtors, refused to take actions that lessened his control over the Company. Accordingly, Count

I must be dismissed as against Upfront as the Complaint does not allege facts establishing that

Upfront exercised actual control over the Debtors and therefore it cannot be found to have owed

fiduciary duties to the Debtors.



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                          ii.      Defendant Upfront GP V, LLC Did Not Owe Debtors
                                   Fiduciary Duties at Any Time.

                   39.      If Defendant Upfront did not have fiduciary duties to the Debtors, Count I

must also be dismissed as to Upfront GP V, LLC, the general partner of Upfront whose only

alleged connection to the Debtors is through Upfront. Thus, even if the Complaint is found to

have sufficiently alleged fiduciary duties on the part of Upfront, it does not plead any facts

sufficient to establish actual control on the part of Upfront GP V, LLC over Loot Crate. Rather,

the Complaint conclusorily alleges in a single statement that “[u]pon information and belief,

Upfront GP V, LLC is the general partner of, and operates, Upfront.” Complaint, at ¶ 13. This

is insufficient to allege a fiduciary duty on the part of Upfront GP V, LLC to the Debtors.

Brinckerhoff v. Enbridge Energy Co., No. 5526-VCN, 2011 Del. Ch. LEXIS 149, *24 (Del. Ch.

Sept. 30, 2011); cf Official Comm. v. Comvest Grp. Holdings, LLC (In re HH Liquidation, LLC),

590 B.R. 211, 272 (Bankr. D. Del. 2018) (“directors of a parent corporation do not owe fiduciary

duties to subsidiary corporations”).

                   40.      Accordingly, Count I must be dismissed as against Upfront GP V, LLC as

the Complaint does not allege facts establishing that Upfront GP V, LLC exercised actual control

over the Debtors and therefore it cannot be found to have owed fiduciary duties to the Debtors.

                         iii.      Upfront Individual Defendants Only Owed Fiduciary Duties
                                   During Limited Periods of Time

                   41.      The Complaint provides a list of the dates for which each Upfront Series

A Director (Bettinelli, Suster, and Kibler) served as a director. For Bettinelli, it was between

May 2016 and October 2017; for Suster, it was between October 2017 and January 2018; and for

Kibler it was between July 2018 and July 2019. Complaint, at ¶ 227. Each individual Upfront

Defendant served, and therefore owed fiduciary duties, sequentially. The Complaint does not set

allege a basis for any individual Upfront Defendants owing fiduciary duties beyond the time he

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or she served on the Board. Accordingly, to the extent any alleged breach occurred at a time

when the individual Upfront Director was not on the Board, the Complaint must be dismissed as

to that claim. To the extent any individual managed Upfront’s affairs, that does not form the

basis for a fiduciary duty owed to Loot Crate.

        b.         Insufficient Allegations of Breaches of Fiduciary Duties.

                   42.    A complaint fails to state a claim against an alleged fiduciary for breach of

fiduciary duty when it fails to allege facts demonstrating that (1) the fiduciary took part in the

challenged conduct and (2) failed to demonstrate the due care attendant to its particular office in

doing so. See Bridge Holding, Inc. Liquidating Trust v. Boyer (In re Bridgeport Holdings, LLC),

388 B.R. 548, 573 (Bankr. D. Del. 2008).

                   43.    In a single count, the Complaint lists the following actions as breaches of

the individual Upfront Defendants’ alleged fiduciary duties:

        (a) intentionally creating a cash crisis within Loot Crate for the purpose of
        reinforcing Upfront and Breakwater’s effective control over Loot Crate
        (Bettinelli, Suster);

        (b) preventing the Board from considering or seeking out alternative funding
        options, rendering the Board incapable of negotiating meaningfully in connection
        with the A-2, BioWorld, or Management Proposals (Bettinelli, Suster);

        (c) aggressively and threateningly attempting to coerce the Board under duress
        into palpably unfavorable funding terms that would benefit Upfront and
        Breakwater at Loot Crate’s expense (Bettinelli, Suster);

        (d) intentionally sabotaging Loot Crate’s efforts to comply under the Breakwater
        forbearance agreement in order to wrest Board control from Davis and other
        independent directors (Kibler);

        (e) surreptitiously manipulating Loot Crate’s financing efforts, including through:
        (i) creating and executing the Playbook, a secret and coordinated plan among
        ostensibly independent directors, interested directors, and dominant shareholders
        to force financing on Loot Crate that would solely benefit Upfront and
        Breakwater; and (ii) having secret meetings and communications with Loot
        Crate’s former and existing management to sow seeds of disloyalty and apply
        additional pressure on Davis to act against his fiduciary duties (Bettinelli, Suster);

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         (f) failing to disclose dual loyalties (Bettinelli, Suster, Kibler); and

         (g) using serial threats of litigation and other threats and antagonistic behavior
         directed at Davis, the Board, Loot Crate management, and other Loot Crate
         shareholders (Bettinelli, Suster).

Complaint, at ¶ 209. None of these states a claim for a breach of a fiduciary duty on the part of

the identified individual Upfront Defendant(s).

                   44.     Notably, the identified breaches relate only to the individual Upfront

Defendants. While the Committee devoted many paragraphs to alleging the control Upfront had

over Loot Crate and concluding that Upfront owed fiduciary duties to Loot Crate, it did not

allege that Upfront breached any fiduciary duty in paragraph 241. Accordingly, Count I must be

dismissed as to Upfront.

                         i. Alleged Breaches of Fiduciary Duties

                               1. Creation of Cash Crisis (Bettinelli, Suster).

                   45.     The Complaint does not plead any facts sufficient to support a breach of

fiduciary duty on the part of Bettinelli or Suster for “intentionally creating a cash crisis within

Loot Crate.” Complaint, at ¶ 241(a). In fact, the basis for such an allegation is entirely unclear

from the Complaint. The Complaint does not allege any action on the part of either Bettinelli or

Suster that explains when the cash crisis existed, how the cash crisis was created, and the role

either played.7 Mere conclusory allegations devoid of factual details to support an allegation are

not to be accepted as true, and necessarily fail to meet the pleading requirement needed to

survive a Rule 12(b)(6) motion to dismiss. Jackson Nat’1 Life Ins. Co. v. Kennedy, Del. Ch., 741

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  To the extent the Committee is referencing Upfront’s refusal to provide an “additional $1.5 million in bridge
financing that had previously been offered unless Davis provided an irrevocable power of attorney over his common
stock in Loot Crate,” this allegation does not state a claim for breach of fiduciary duty. Complaint, at ¶ 94. Upfront
had every right to condition its funding on whatever conditions it wanted, or decline to provide financing entirely.
Odyssey P’rs, L.P. v. Fleming Cos., Inc., 735 A.2d 386, 411 (Del. Ch. 1999) (holding that controlling stockholder
was under no fiduciary obligation to agree to a proposal that would have “required significant and disproportionate
self-sacrifice”).


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A.2d 377, 386, 392 (1999) (citations omitted). The Complaint makes a conclusory allegation

without factual details in support thereof. The Committee further fails to allege that the alleged

cash crisis would have otherwise been avoided in the absence of any action or inaction by

Bettinelli or Suster. The Complaint must be dismissed as to this claim.

                            2. Preclusion of Alternative Funding (Bettinelli, Suster).

                   46.   The Complaint does not plead any facts sufficient to support a breach of

fiduciary duty on the part of Bettinelli or Suster for “preventing the Board from considering or

seeking out alternative funding options, rendering the Board incapable of negotiating

meaningfully in connection with the A-2, BioWorld, or Management Proposals.” Complaint, at

¶ 241(b). The A-2, BioWorld and Management Proposals were considered during Suster’s

tenure as the Series A Director, well after he replaced Bettinelli in that role. Accordingly,

Bettinelli did not owe fiduciary duties during the applicable time period, and the Complaint must

be dismissed as Bettinelli in connection with this claim.

                   47.   Further, as to Suster, the Complaint pleads directly contradictory facts,

stating that “[i]n late November and early December 2017, Loot Crate continued to seek

additional debt financing, entering into further negotiations with BioWorld that culminated in a

new proposal for debt financing from BioWorld.” Complaint, at ¶ 119. Further, the Complaint

alleges that “[o]n January 4, 2018, Suster resigned from the Board,” and the Board was without

any Series A Director between January 4, 2018 and July 24, 2018, during which time Loot Crate

was absolutely free to seek any funding it wished, yet no alternative financing was

consummated. See id. at ¶ 150, 180.

                   48.   The Complaint does not allege that the Series A Director cast a

determinative vote to prohibit consideration of alternative funding, and Upfront is not alleged to

have actually exercised its contractual consent right regarding additional share issuances.

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Further, even if it did refuse consent, as set forth above, Upfront was entitled to do so and such

action cannot violate a breach of fiduciary duty. See, supra, ¶¶ 35-37 (citing Thermopylae

Capital Partners, L.P. v. Simbol, Inc., 2016 Del. Ch. LEXIS 15 and Superior Vision Servs., Inc.

v. ReliaStar Life Ins. Co., 2006 Del. Ch. LEXIS 160). The Committee also does not allege that

the Debtors would have ultimately obtained alternative financing, and such alternative financing

would have allowed Loot Crate to survive. There are simply no facts alleged that give rise to a

claim for breach of fiduciary duty in preventing the Debtors from considering other financing,

and the facts alleged state other financing was considered. The Complaint must be dismissed as

to this claim.

                            3. Coercion of Board into Unfavorable Funding Terms (Bettinelli,
                               Suster).

                   49.   The Complaint does not plead any facts sufficient to support a breach of

fiduciary duty on the part of Bettinelli or Suster for “attempting to coerce the Board under duress

into palpably unfavorable funding terms that would benefit Upfront and Breakwater at Loot

Crate’s expense.” Complaint, at ¶ 241(c). Once again, the A-2 Term Sheet proposal was made

and considered during Suster’s tenure as the Series A Director, well after he replaced Bettinelli

in that role. Accordingly, Bettinelli did not owe fiduciary duties during the applicable time

period, and the Complaint must be dismissed as Bettinelli in connection with this claim.

                   50.   Notably, in its allegation, the Complaint merely states that such coercion

was “attempted.” Without the allegation that the Board agreed to and consummated such

unfavorable terms, there can be no damage therefrom. Further, the “palpably unfavorable terms”

are alleged to have been that the A-2 Proposal included anti-dilution preferences with respect to

Upfront and Breakwater, which “would create a materially negative economic impact on the

majority of Loot Crate’s other shareholders.” Complaint, at ¶ 67. These allegations address the


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impact on other shareholders rather than the Debtors, and Upfront was not required to agree to a

proposal it did not find to be in its interests. Odyssey P’rs, L.P. v. Fleming Cos., Inc., 735 A.2d

386, 411 (Del. Ch. 1999) (holding that controlling stockholder was under no fiduciary obligation

to agree to a proposal that would have “required significant and disproportionate self-sacrifice”).

As the proposed funding was equity funding, it was unquestionably better for creditors (to whom

fiduciary duties at that point likely flowed) rather than the debt financing Davis urged.

                   51.   Finally, the Board’s November 3, 2017 approval of the A-2 Term Sheet,

including these allegedly unfavorable terms, was unanimously approved by the entire Board,

including Davis. This allegation does not support a claim for breach of fiduciary duty, and the

Complaint must be dismissed as to this claim.

                            4. Sabotaging Compliance with Breakwater Forbearance
                               Agreement (Kibler).

                   52.   The Complaint does not plead any facts sufficient to support a breach of

fiduciary duty on the part of Kibler in “intentionally sabotaging Loot Crate’s efforts to comply

under the Breakwater forbearance agreement in order to wrest Board control from Davis and

other independent directors.” Complaint, at ¶ 241(d). The Complaint states that:

        In late May 2018, Atalaya’s principal, Matt Spiro (“Spiro”), emailed his contact at
        Upfront, Kobie Fuller, to request a meeting with Suster in connection with
        Atalaya’s due diligence efforts for its financing commitment. When Kibler
        received word of this inquiry, she immediately sought to protect Upfront’s
        interests over Loot Crate’s interests. On May 22, 2018, Kibler wrote Fuller,
        “either they [Atalaya] are proposing something that Breakwater won’t approve
        because it requires them to roll over a portion of their debt or it’s a structure that
        would likely not end well for us.”

Complaint, at ¶ 172. As the Complaint acknowledges, Kibler did not become a director until

July 2018. Complaint, at ¶ 227. Accordingly, Kibler did not owe any fiduciary duties in May

2018. This allegation does not support a claim for breach of fiduciary duty, and the Complaint

must be dismissed as to this claim.

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                            5. Manipulating Financing Efforts (Bettinelli, Suster).

                   53.   The Complaint does not plead any facts sufficient to support a breach of

fiduciary duty on the part of Bettinelli or Suster for “surreptitiously manipulating Loot Crate’s

financing efforts, including through: (i) creating and executing the Playbook, a secret and

coordinated plan among ostensibly independent directors, interested directors, and dominant

shareholders to force financing on Loot Crate that would solely benefit Upfront and Breakwater;

and (ii) having secret meetings and communications with Loot Crate’s former and existing

management to sow seeds of disloyalty and apply additional pressure on Davis to act against his

fiduciary duties.” Complaint, at ¶ 241(e).

                                   a. The Playbook.

                   54.   The Complaint describes the Playbook as a detailed, coordinated plan “to

block the Board from considering other financing options and to force Davis and the company to

consummate the A-2 Proposal.” Complaint, at ¶ 98. The Playbook is described as a plan

developed prior to the “November 15 meeting,” during Suster’s tenure as the Series A Director

and well after he replaced Bettinelli in that role. Accordingly, Bettinelli did not owe fiduciary

duties during the applicable time period, and the Complaint must be dismissed as Bettinelli in

connection with this claim.

                   55.   Further, to the extent such a plan existed, the Complaint concedes it did

not succeed. See, supra, ¶¶ 36-37; Complaint, at ¶¶ 94-96. Without the allegation that the Board

agreed to and consummated such unfavorable terms, there can be no damage therefrom. Further,

the “financing . . . that would solely benefit Upfront” is the A-2 Proposal that is not alleged to be

harmful to Loot Crate. Instead, the A-2 Proposal included anti-dilution preferences with respect

to Upfront and Breakwater, which “would create a materially negative economic impact on the

majority of Loot Crate’s other shareholders.” Complaint, at ¶ 67. As the proposed funding was

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equity funding, it was unquestionably better for creditors (to whom fiduciary duties at that point

likely flowed) rather than the debt financing Davis urged. Finally, the Board’s November 3,

2017 approval of the A-2 Term Sheet, including these allegedly unfavorable terms, was

unanimously approved by the entire Board, including Davis. This allegation does not support a

claim for breach of fiduciary duty, and the Complaint must be dismissed as to this claim.

                                        b. Secret Meetings.

                   56.      The Complaint must provide more specificity on the alleged “secret

meetings and communications” which are claimed to be a violation of Bettinelli’s and Suster’s

fiduciary duties. Bettinelli and Suster cannot respond to the allegations without additional

details. However, none of the meetings or communications alleged in the Complaint violated

their fiduciary duties to the Company. For example, the Complaint alleges that at such “secret

meetings” Upfront “devised schemes to replace current management (without informing

management).” Complaint, at ¶ 233. The Series A Director owed fiduciary duties to the

Company, not Davis. Further, there is no allegation of damages resulting from any secret

meetings.    This allegation does not support a claim for breach of fiduciary duty, and the

Complaint must be dismissed as to this claim.

                         ii. Failing to Disclose Dual Loyalties (Bettinelli, Suster, Kibler).

                   57.      The Complaint does not plead any facts sufficient to support a breach of

fiduciary duty on the part of Bettinelli, Suster, or Kibler for “failing to disclose dual loyalties.”

Complaint, at ¶ 241(f). The Complaint does not specify the “dual loyalty” at issue, but to the

extent it is the Series A Director’s role at Upfront, there can be no doubt the Debtors were aware

of the positions of the Bettinelli, Suster and Kibler within Upfront. This allegation does not

support a claim for breach of fiduciary duty, and the Complaint must be dismissed as to this

claim.

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                     iii. Antagonistic Behavior (Bettinelli, Suster).

                   58.      The Complaint does not plead any facts sufficient to support a breach of

fiduciary duty on the part of Bettinelli or Suster for “using serial threats of litigation and other

threats and antagonistic behavior directed at David, the Board, Loot Crate management, and

other Loot Crate shareholders.” Complaint, at ¶ 241(g). No party can be prohibited from taking

acts or stating its intent to preserve its legal rights, nor do such actions constitute a breach of

fiduciary duty.          Further, there is no allegation that actual damages resulted from such

antagonistic behavior. This allegation does not support a claim for breach of fiduciary duty, and

the Complaint must be dismissed as to this claim.

                   59.      The Complaint provides a laundry list of vague and unsupported

allegations in an attempt to cast a miasma over the Upfront Defendants’ conduct. However,

none of the Committee’s concrete allegations state a claim for a breach of fiduciary duty.

C.      Count II Must Be Dismissed as Plausible Claims for Aiding and Abetting Breach of
        Fiduciary Duty Have Not Been Alleged.

                   60.      The elements of a claim for aiding and abetting breach of fiduciary duty

are: (1) the party must know that a fiduciary relationship existed between a third person and the

plaintiff bringing suit; (2) the third person must have breached a fiduciary duty to the plaintiff;

(3) “knowing participation” of the party in the fiduciary’s breach of duty; and (4) actual damages

as a result of the breach. Malpiede v. Townson, 780 A.2d 1075, 1096 (Del. 2001).

            a. Count II Must Be Dismissed Against Upfront Entity Defendants

                   61.      Although Count II is styled as against “All Defendants,” only Bettinelli,

Suster and Kibler are alleged to have “individually or through Upfront knowingly and

intentionally worked in concert with Breakwater and its representatives to assist or encourage

Breakwater, Mansour, Amdani, Beckman, Geant, and Kaczorowski to breach their fiduciary


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duties to Loot Crate in the ways enumerated in Count I above.” Complaint, at ¶ 251. Further,

only Bettinelli, Suster, and Kibler are alleged to have “knowingly and intentionally worked in

concert with one another when one of them was on the Board to breach their fiduciary duties to

Loot Crate.” Id. at 252. Accordingly, Count II must be dismissed against the Upfront entity

Defendants.

            b. First Element Not Satisfied (Knowledge of Fiduciary Relationship)

                   62.   The Complaint does not allege that the Upfront Defendants knew a

fiduciary relationship existed between any of the Breakwater parties and the Debtors, and

certainly does not and cannot allege that the Upfront Defendants knew a fiduciary relationship

existed outside of the limited period of time that Mansour, Amdani, Beckman, Geant and

Kaczorowski were on the Board (July 2018-August 2018). Accordingly, Count II must be

dismissed as to aiding and abetting any of the Breakwater Defendants.

            c. Second Element Not Satisfied (Breach of Fiduciary Duty)

                   63.   To the extent Count I is dismissed, there can be no aiding and abetting any

breach of fiduciary duty that is dismissed and Count II must be dismissed as to those dismissed

claims.

                   64.   For the reasons the Complaint does not state a claim for breach of

fiduciary duty as to the Upfront individual Defendants, set forth above in paragraphs 47 to 60,

the Complaint also does not state a claim for breach of fiduciary duty by the Breakwater

individual Defendants. (And, as with the Upfront Defendants, the Complaint only alleges that

Breakwater controlled the Debtors, it does not list Breakwater as a party who breached a

fiduciary duty in paragraph 241). The limited allegation not addressed above is the Complaint’s

claim that Mansour, Amdani, Beckman, Geant, and Kaczorowski breached their fiduciary duties



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by “intentionally sabotaging Loot Crate’s efforts to comply under the Breakwater forbearance

agreement in order to wrest Board control from Davis and other independent directors.”

Complaint, at ¶ 241(d). There is no breach of fiduciary duty alleged in the Complaint because

the Breakwater individual Defendants only became fiduciaries after Loot Crate failed to comply

with the May 2018 Forbearance Agreement. Accordingly, there is no breach of fiduciary duty

that any of the Upfront individual Defendants could have aided and abetted. Accordingly, Count

II must be dismissed as to aiding and abetting any of the Breakwater Defendants.

            d. Third Element Not Satisfied (Knowing Participation)

                   65.   With regard to the third element – “knowing participation” – conclusory

allegations such as “[aiding and abetting defendant] had knowledge of the [fiduciary

d]efendants’ fiduciary duties and knowingly and substantially participated and assisted in the

[fiduciary d]efendants’ breaches of fiduciary duty, and, therefore, aided and abetted such

breaches of fiduciary duties” are insufficient as a matter of law. In re Santa Fe Pacific Corp.

S’holder Litig., 669 A.2d 59, 72 (Del. 1995).

                   66.   Count II contains precisely the sort of conclusory allegation that failed to

state an aiding and abetting a breach of fiduciary duty claim in In re Sante Fe. Accordingly,

Count II fails to satisfy a necessary element and must be dismissed.

            e. Fourth Element Not Satisfied (Actual Damages)

                   67.   Although damages is not a technical element of a breach of fiduciary duty

claim, it is an element of aiding and abetting. The Complaint fails to allege to any cognizable

damages theory. Accordingly, the Count II must be dismissed.

D.      Count III Must Be Dismissed as Plausible Claims for Breach of Implied
        Covenant of Good Faith and Fair Dealing Have Not Been Alleged.

                   68.   Under Delaware law:


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        [t]he implied covenant of good faith and fair dealing inheres in every contract
        governed by Delaware law and ‘requires a party in a contractual relationship to
        refrain from arbitrary or unreasonable conduct which has the effect of preventing
        the other party to the contract from receiving the fruits of the bargain.’

Airborne Health, Inc. v. Squid Soap, LP, 984 A.2d 126, 145–46 (Del. Ch. 2009) (internal citation

omitted). Under California law, the covenant of good faith and fair dealing may be used to aid in

the construction of a contradictory and ambiguous contract. April Enters., Inc. v. KTTV, 147 Cal.

App. 3d 805, 816, 195 Cal. Rptr. 421, 425 (1983).

                   69.   The implied covenant, however, “does not apply when ‘the subject at issue

is expressly covered by the contract.’” Airborne at 146; Racine & Laramie, Ltd. v. California

Dep’t of Parks and Recreation, 11 Cal. App. 4th 1026, 1031, 14 Cal. Rptr. 335, 338 (1992);

Foley v. Interactive Data Corp., 47 Cal. 3d 654, 690, 254 Cal. Rptr. 211 (1988). Thus, “[t]he

doctrine… operates only in that narrow band of cases where the contract as a whole speaks

sufficiently to suggest an obligation and point to a result, but does not speak directly enough to

provide an explicit answer.” Airborne. To elaborate:

        [t]he test for the implied covenant depends on whether it is ‘clear from what was
        expressly agreed upon that the parties who negotiated the express terms of the
        contract would have agreed to proscribe the act later complained of as a breach of
        the implied covenant of good faith—had they thought to negotiate with respect to
        that matter.’

Id. See also Dunlap v. State Farm Fire & Cas. Co., 878 A.2d 434, 442–43 (Del. 2005)

(deciphering an implied term should be “‘rare and fact-intensive’”) (internal citation omitted).

Under Delaware or California law a court will look closely at the overall intent of the parties as

specifically set forth in the contract to determine whether an action does or does not violate the

covenant.

                   70.   Here, however, the very acts the Committee asserts violate the implied

covenant of good faith and fair dealing were specifically bargained for. The Committee states


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that Upfront violated the implied covenant by “threatening coercing [sic] Loot Crate to accept

more onerous financing terms than needed.” Complaint, at ¶ 258.8

                   71.   Upfront negotiated for and had every right to demand that its equity was

not diluted (as allowed under the Private Equity Agreement), and similarly insisted on a no-shop

provision in the A-2 Term Sheet (as the Board, including Davis, voted to approve). Accordingly,

Upfront’s actions were taken in accordance with an explicit term of the applicable contracts

rather than an implied term. Finally, there are no damages alleged as a result of Upfront’s

“coercion” as the financing proposed by Upfront was not consummated. Accordingly, the

Complaint does not state a claim for breach of the implied covenant of good faith and fair

dealing. Count III must be dismissed.

E.      Count IV Must Be Dismissed as Plausible Claims for Civil Conspiracy Have Not
        Been Alleged.

                   72.   For the same reasons that the Count II must be dismissed as plausible

claims for aiding and abetting breach of fiduciary duty have not been alleged, Count IV must

similarly be dismissed. The elements of an action for civil conspiracy are: (1) formation and

operation of the conspiracy; (2) an wrongful act done in furtherance of the common design; and

(3) damage resulting to plaintiff. Doctors’ Co. v. Superior Court, 49 Cal.3d 39, 44, 260 Cal.

Rptr. 183, 775 P.2d 508 (1989). The wrongful acts alleged are breaches of fiduciary duty, all of

which must be dismissed for the reasons stated above in paragraphs 47 to 60. Accordingly, there

is no claim stated for civil conspiracy to breach fiduciary duties.

                   73.   Although damages is not a technical element of a breach of fiduciary duty


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 The Committee also asserts that Upfront and Breakwater “and intentionally sabotaging Loot Crate’s efforts to
comply under the May 2018 Forbearance Agreement in order to obtain further control from Davis and other Board
members”; however, as Upfront was not a party to the May 2018 Forbearance Agreement, it had no implied
covenant of good faith with respect thereto.


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claim, it is an element of a claim for civil conspiracy. The Complaint fails to allege to cognizable

damages theory. Accordingly, the Count IV must be dismissed.

F.      Count IX Must Be Dismissed.

                   74.   Pursuant to Bankruptcy Code Section 502(a), a proof of claim is deemed

allowed unless a party in interest objects to it. As Bankruptcy Rule 3001(f) states, “A proof of

claim executed and filed in accordance with these rules shall constitute prima facie evidence of

the validity and amount of the claim.” Assuming that the “averments in [the] filed claims meet

the standard of sufficiency, it is ‘prima facie’ valid” the burden then shifts to the objector to

produce evidence sufficient to negate prima facie validity. In re Allegheny Int’l Inc., 954 F.2d

167, 173-74 (3d Cir. 1992). “Once an objectant offers sufficient evidence to overcome the prima

facie validity of the claim, the claimant is required to meet the usual burden of proof to establish

the validity of the claim.” In re Rockefeller Center Properties, 272 B.R. 524, 539 (Bankr.

S.D.N.Y. 2000).

                   75.   With respect to the validity of Upfront’s proof of claim, the Complaint

merely states that “the Defendants’ Claims do not represent an actual, authorized liability of any

of the Debtors.” Complaint, ¶ 295.a. This is not sufficient to overcome the prima facie validity

of Upfront’s proof of claim. Accordingly, Claim IX should be dismissed.

G.      The Complaint’s Prayer for Compensatory Damages Must Be Stricken.

                   76.   The Complaint has not alleged any cognizable damages theory with

respect to any of the Counts against the Upfront Defendants. Although damages is not a

technical element of a breach of fiduciary duty claim, the Committee is not entitled to seek

anything other than nominal damages based on the allegations pleaded. Accordingly, the Court

should strike the Committee’s prayer for $100 million in compensatory damages pursuant to

Rule 12(f) of the Federal Rules of Civil Procedure.

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                                          CONCLUSION

                   77.   For all of the foregoing reasons, Upfront submits that Counts I, II, III, IV,

and IX be dismissed as to the Upfront Defendants.

 Dated: March 5, 2021                        PACHULSKI STANG ZIEHL & JONES LLP

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